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                Case: 17-10290 Date Fi(1ed:
                                         of 3)
                                            05/03/2017 Page: 1
                                                                                            May 3, 2017
                            UNITED STATES COURT OF APPEALS
                                                                                                       MIAMI
                               FOR THE ELEVENTH CIRCUIT
                                 ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                               56 Forsyth Street, N.W.
                                               Atlanta, Georgia 30303

  David J. Smith                                                                        For rules and forms visit
  Clerk of Court                                                                        www.ca11.uscourts.gov


                                              May 03, 2017

  Steven M. Larimore
  U.S. District Court
  400 N MIAMI AVE
  MIAMI, FL 33128-1810

  Appeal Number: 17-10290-D
  Case Style: Arthur Putman v. Public Storage, et al
  District Court Docket No: 1:14-cv-21559-UU

  The enclosed copy of this Court's Order of Dismissal is issued as the mandate of this court. See
  11th Cir. R. 41-4. Counsel and pro se parties are advised that pursuant to 11th Cir. R. 27-2, "a
  motion to reconsider, vacate, or modify an order must be filed within 21 days of the entry of such
  order. No additional time shall be allowed for mailing."

  Sincerely,

  DAVID J. SMITH, Clerk of Court

  Reply to: Scott O'Neal, D/lt
  Phone #: (404) 335-6189

  Enclosure(s)

                                                                    DIS-4 Multi-purpose dismissal letter
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                Case: 17-10290 Date Filed:
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                        IN THE UNITED STATES COURT OF APPEALS

                                FOR THE ELEVENTH CIRCUIT


                                        No. 17-10290-D


  COLIN BOWE, et al.,

                                                                                         Plaintiff,

 BRIAN MORGAN,

                                                                               Plaintiff-Appellee,

 ARTHUR PUTMAN,

                                                                       Interested Party-Appellant,


                                              versus

 PUBLIC STORAGE,

                                                                             Defendant-Appellee.


                           Appeal from the United States District Court
                               for the Southern District of Florida


 Before: WILLIAM PRYOR, JORDAN, and JULIE CARNES, Circuit Judges.

 BY THE COURT:

        This appeal is DISMISSED, sua sponte, for lack of jurisdiction. Arthur Putman,

 proceeding prose, has appealed from a March 7, 2016, order denying his motion to stay certain

 rulings, anApril15, 2016, order denying two ofhis postjudgment motions, and a June 27,2016,

 order denying four additional postjudgment motions. Mr. Putman's notices of appeal, filed on

 July 28 and 29, 2016, were untimely to appeal from the district court's orders. See
Case 1:14-cv-21559-UU Document 433 Entered on FLSD Docket 05/03/2017 Page 3 of 3
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                                     (3 of 3)
                                           05/03/2017 Page: 2 of 2


 Fed. R. App. P. 4(a)(l)(A); Green v. Drug Enforcement Admin., 606 F.3d 1296, 1300 (11th Cir.

 2010) (noting that a timely notice of appeal in a civil action is a jurisdictional requirement).

 Moreover, we cannot entertain this appeal because Mr. Putman is not a party to this action for

 purposes of taking an appeal. See Devlin v. Scardelletti, 536 U.S. 1, 7 (2002) (noting that "only

 parties to a lawsuit, or those that properly become parties, may appeal an adverse judgment"

 (quotation omitted)). Mr. Putman was not a member of the class, nor did he seek to intervene in

 the action. Therefore, Mr. Putman may not pursue an appeal from the district court's denial of his

 motions, all of which concerned the propriety of a class-action settlement. See AAL High Yield

 Bond Fundv. Deloitte & Touche LLP, 361 F.3d 1305, 1309-11 & nn.4-6 (11th Cir. 2004) (holding

 that objectors to a class-action settlement who are not class members and have not moved to

 intervene may not appeal the settlement or the denial of their objections to it). All pending

 motions are DENIED as MOOT.

        No motion for reconsideration may be filed unless it complies with the timing and other

 requirements of 11th Cir. R. 27-2 and all other applicable rules.




                                                   2
